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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


WILLIE J. JOHNSON, III,             )
                                    )
        Petitioner,                 )
                                    )           CIVIL ACTION NO.
        v.                          )             2:17cv593-MHT
                                    )                  (WO)
DEWAYNE ESTES, et al.,              )
                                    )
        Respondents.                )

                                 OPINION

    Pursuant to 28 U.S.C. § 2254, petitioner filed this

habeas-corpus case.           This lawsuit is now before the

court        on   the   recommendation     of    the   United    States

Magistrate        Judge   that   the    habeas-corpus        request    be

denied       as   time-barred.      Also   before      the    court    are

petitioner's objections to the recommendation.                    After

an independent and de novo review of the record, the

court concludes that the objections should be overruled

and the magistrate judge’s recommendation adopted.

    An appropriate judgment will be entered.

    DONE, this the 19th day of October, 2020.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
